Entered: November 1st, 2018
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Signed: November 1st, 2018

SO ORDERED
PROVIDED, HOWEVER, that any loan modification or other agreement with
respect to loss mitigation shall be non-recourse as to the debtor unless
included in a reaffirmation agreement. THIS ORDER DOES NOT
AUTHORIZE A DEED IN LIEU OF FORECLOSURE SO LONG AS THE
PROPERTY REMAINS PROPERTY OF THE BANKRUPTCY ESTATE.




                                 IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF MARYLAND (BALTIMORE)


         In re
                                                            Bk. No. 17-13889
         DAVID MORRIS
         TRAVEY MORRIS,                                      Chapter 13

            Debtor.


         US BANK TRUST NATIONAL
         ASSOCIATION, as trustee of the PRP II
         PALS INVESTMENT, its assignees and/or
         successors in interest

            Movant,

         vs.

         DAVID MORRIS AND TRACEY MORRIS,
         Co-Debtor
         TIMOTHY P. BRANIGAN, Chapter 13
         Trustee,

                     Respondents.




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  ORDER FOR RELIEF FROM STAY AND CO-DEBTOR STAY AS TO PROPERTY
    KNOWN AS 1529 LANGFORD ROAD, GWYNN OAKS, MARYLAND 21207


       This cause having come on for consideration upon the Motion for Relief From Stay filed

by Movant, US Bank Trust National Association, as Trustee of the PRP II Pals Investment Trust,

its assignees and/or successors in interest, and no opposition or response having been filed, it is,

by the United States Bankruptcy Court for the District of Maryland,

       ORDERED that the automatic stay provided by 11 U.S.C. § 362 is hereby lifted to permit

the Movant, US Bank Trust National Association, as Trustee of the PRP II Pals Investment Trust,

its successors and/or assigns, to institute proceedings to foreclose the Deed of Trust recorded

among the Land Records of Baltimore County in Map 95. Grid 15, Parcel 0200, Block H, Lot 22

on the property known as 1529 Langford Road, Gwynn Oaks, Maryland 21207, and to allow the

successful purchasers to pursue the necessary legal means to obtain possession of the property

       ORDERED that, in addition to foreclosure, this Relief Order permits activity necessary to

obtain possession of said collateral; therefore, all communications sent by Movant in connection

with proceeding against the property including, but not limited to, notices required by state law

and communications to offer and provide information with regard to a potential Forbearance

Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement, or other

Loan Workout, may be sent directly to Debtors.




cc:
       Lisa M. Goldblatt, Esq.
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       Ellicott City, MD 21043




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Chapter 13 Trustee



                               END OF ORDER




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